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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:09CR48
                              )
          v.                  )
                              )
ISIDRO DUARTE-ANDRADE,        )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

for returning of personal property (Filing No. 150).                The records

of the United States Marshal’s Service indicate all of

defendant’s property was delivered to him at C.C.A., Leavenworth,

Kansas, and no other items are in the possession of the

government.   Accordingly,

           IT IS ORDERED that defendant’s motion for returning

personal property is denied.

           DATED this 25th day of February, 2010.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
